                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 4-08-cr-14
 vs.                                                  )
                                                      )       JUDGE MATTICE
 CODY TIGNER                                          )


                                 MEMORANDUM AND ORDER

         The defendant appeared for a hearing before the undersigned on August 4, 2010, in
 accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for Warrant
 for Offender Under Supervision of U.S. Probation Officer Anthony J. Green and the Warrant for
 Arrest issued by U.S. District Judge Harry S. Mattice, Jr. Those present for the hearing included:

                (1) AUSA Chris Poole for the USA.
                (2) Defendant CODY TIGNER.
                (3) Attorney Mary Ellen Coleman for defendant.
                (4) Deputy Clerk Kelli Jones.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

        It was determined the defendant wished to be represented by an attorney and he qualified for
 the appointment of an attorney to represent him at government expense. Attorney Mary Ellen
 Coleman of Federal Defender Services of Eastern Tennessee, Inc. was appointed to represent the
 defendant. It was determined the defendant had been provided with a copy of the Petition for
 Warrant for Offender Under Supervision and the Warrant for Arrest and had the opportunity of
 reviewing those documents with Atty. Coleman. It was also determined the defendant was capable
 of being able to read and understand the copy of the aforesaid documents he had been provided.

        Defendant waived his right to a preliminary hearing and detention hearing.

        AUSA Poole moved defendant be detained pending a hearing to determine whether his term
 of supervision should be revoked.

                                              Findings

        (1) Based upon U.S. Probation Officer Green’s petition and defendant’s waiver of
        preliminary hearing and detention hearing, the undersigned finds there is probable

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       cause to believe defendant has committed violations of his conditions of supervised
       release as alleged in the petition.

                                          Conclusions

       It is ORDERED:

       (1) The defendant shall appear in a revocation hearing before U.S. District Judge
       Harry S. Mattice, Jr.

       (2) The motion of AUSA Poole that defendant be DETAINED WITHOUT BAIL
       pending his revocation hearing before Judge Mattice is GRANTED.

       (3) The U.S. Marshal shall transport defendant to a revocation hearing before Judge
       Mattice on Monday, August 9, 2010, at 9:00 am.

       ENTER.

                                            s/William B. Mitchell Carter
                                            UNITED STATES MAGISTRATE JUDGE




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